            Case 3:22-cv-05035-RSL Document 269 Filed 02/23/24 Page 1 of 3




 1                                                                     The Honorable Robert S. Lasnik

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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT TACOMA

10   SUSAN SOTO PALMER, et al.,                          NO. 3:22-cv-05035-RSL

11                                      Plaintiffs,      DEFENDANT SECRETARY OF STATE
                                                         STEVEN HOBBS’S MEMORANDUM
12           v.                                          REGARDING REMEDIAL MAPS

13   STEVEN HOBBS, et al.,

14                                   Defendants.

15   JOSE TREVINO, et al.

16                        Intervenor-Defendants.

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18          The purpose of this memorandum and accompanying declaration is to provide this Court

19   with technical information related to proposed Remedial Map 3A. Specifically, the attached

20   declaration identifies 18 instances where the proposed map creates “trapped polygons,” which

21   are areas caught between county boundaries, congressional district lines, legislative district lines,

22   county council or commissioner district lines, and city or town limits. While the declaration

23   identifies possible remedies to the issues of trapped polygons, these would be very minor

24   adjustments. In ten instances, the changes would affect zero people. Each of the remaining

25   instances would affect between 2 and 17 people.

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     DEFENDANT SECRETARY OF STATE                         1               ATTORNEY GENERAL OF WASHINGTON
                                                                                1125 Washington Street SE
     STEVEN HOBBS’S MEMORANDUM                                                       PO Box 40100
     REGARDING REMEDIAL MAPS                                                    Olympia, WA 98504-0100
                                                                                     (360) 753-6200
     NO. 3:22-cv-05035-RSL
            Case 3:22-cv-05035-RSL Document 269 Filed 02/23/24 Page 2 of 3




 1          This is not intended to be an expert report. Instead, this is the type of information that the

 2   Secretary provided to the Legislature after the Redistricting Commission submitted its

 3   congressional and legislative district maps. This information is solely intended to assist the Court

 4   and the expert retained to assist the Court.

 5          RESPECTFULLY SUBMITTED this 23rd day of February, 2024.

 6                                                    ROBERT W. FERGUSON
                                                       Attorney General
 7
                                                       s/ Karl D. Smith
 8                                                    KARL D. SMITH, WSBA 41988
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            Case 3:22-cv-05035-RSL Document 269 Filed 02/23/24 Page 3 of 3




 1                                 DECLARATION OF SERVICE

 2          I hereby declare that on this day I caused the foregoing document to be electronically

 3   filed with the Clerk of the Court using the Court’s CM/ECF System which will serve a copy of

 4   this document upon all counsel of record.

 5          DATED this 23rd day of February 2024, at Olympia, Washington.

 6
                                                   s/ Leena Vanderwood
 7                                                Leena Vanderwood
                                                    Paralegal
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